              Case: 23-1980       Document: 18        Page: 1                 Filed: 07/14/2023



F ORM 26. Docketing Statem ent                                                                                         For m 26 (p . 1)
                                                                                                                            July 2020

                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT
                                 DOCKETING STATEMENT

           Ca se Number: 23-1980, 23-2076
  S h o rt Case Caption: Juniper Networks, Inc. v. Swarm Technology LLC
                         ------------------------
  Filing P arty/Entity: Juniper Networks, Inc.


 Instructions: Complete each section or check the box if a section is intentionally
 blank or not a pplicable. Attach addit ional pages as needed. Refer to t h e court's
 Mediation Guidelines for filing requirements . An amended docketing stat ement is
 required for each n ew a ppeal or cross-a ppeal con solidat ed after first filing.


           Cas e Origin             Origina ting Nu mber                                    Type of Case

 Patent Trial & Appeal Board          IPR2021-01445                                 Inter Partes Review


 Relief sought on a ppeal: D Non e/Not Applicable

  Reversal of the PTAB's Final Written Decision finding that none of claims 1-12 have been
  shown to be unpatentable.
 Relief awarded below (if damages, specify): D
                                             ✔ Non e/Not Applicable




 Briefly describe the judgment/order a ppealed from:

 In IPR2021-01445, the Board erroneously held that claims 1-12 of
 U.S. Patent No. 9,852,004 were not shown to be unpatentable.

 Natur e of judgment (select one):                                   4/20/23
                                               Da t e of ju dgment : _ _ _ _ _ __
     D Final Judgmen t , 28 USC § 1295
          Rule 54(b)
     D Interlocu tory Order (specify type) _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D Other (explain)
      ✔                                       Final judgment, 28 U.S.C. §1295; appeal from final written decision, 35 U.S.C. §319
               Case: 23-1980     Document: 18      Page: 2     Filed: 07/14/2023



F ORM 26. Docketing Statem ent                                                        Form 26 (p . 2)
                                                                                         July 2020

 Name a nd docket number of a n y r elated cases pen din g before th is court, and t h e
 name of the writing judge if a n opinion was issu ed. D ✔ None/Not Applicable




 Issu es to be raised on a ppeal :   D None/Not Applicable
 Whether the Board has erred in finding that claims 1-12 of U.S. Patent No. 9,852,004 were
 not shown to be unpatentable.
 H ave t h er e been discu ssion s with oth er pa rt ies relating to settlement of th is case?
 D       Yes      ✔
                          No

 If "yes," wh en were the last su ch discu ssions?
     D Befor e the case was filed below
     D During t h e pendency of t h e case below
     D Following the ju dgment/order a ppealed from

 If "yes," wer e the settlement discu ssions media t ed?           D Yes          0     No

 If they were mediated, by whorn?



 Do you believe that this case m ay be a men able t o mediation ? D Yes           D
                                                                                  ✔ No

 Explain .

 Juniper Networks believes that patentability issues of this nature are generally
 not amenable to mediation.


 Provide any other inform ation r elevant to the inclusion of t his case in t h e court's
 mediation program.

 None



  Da t e: 07/14/2023                  Sign a ture: /s/ R. William Sigler

                                      Name:          R. William Sigler



                                        Save for Filing
